Case 12-15613         Doc 2      Filed 05/21/12 Entered 07/03/12 10:51:29           Desc Main
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 Jeffrey D. Saferstein
 Philip Weintraub
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 Proposed Counsel to the Debtors
 and the Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

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                                                       :
 In re:                                                :   Chapter 11
                                                       :
 HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
 HARCOURT PUBLISHING COMPANY, :
                                                       :
                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
 HARCOURT PUBLISHERS INC.,                             :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HMH PUBLISHERS, LLC,                                  :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
 HOLDING COMPANY, INC.,                                :
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                                     Debtor.           :
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Case 12-15613         Doc 2      Filed 05/21/12 Entered 07/03/12 10:51:29           Desc Main
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN, LLC,                                :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN FINANCE, INC., :                         Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
 HOLDINGS, INC.,                                       :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HM PUBLISHING CORP.,                                  :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 RIVERDEEP INC., A LIMITED                             :   Case No. 12-____ (___)
 LIABILITY COMPANY                                     :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 BRODERBUND LLC,                                       :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 RVDP, INC.,                                           :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HRW DISTRIBUTORS, INC.,                               :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 GREENWOOD PUBLISHING                                  :   Case No. 12-____ (___)
 GROUP, INC.,                                          :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 CLASSROOM CONNECT, INC.,                              :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 ACHIEVE! DATA SOLUTIONS, LLC,                         :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 STECK-VAUGHN                                          :   Case No. 12-____ (___)
 PUBLISHING LLC,                                       :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HMH SUPPLEMENTAL                                      :   Case No. 12-____ (___)
 PUBLISHERS INC.,                                      :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HMH HOLDINGS (DELAWARE) INC,                          :   Case No. 12-____ (___)
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 In re:                                                :   Chapter 11
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 SENTRY REALTY CORPORATION                             :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 HOUGHTON MIFFLIN COMPANY                              :   Case No. 12-____ (___)
 INTERNATIONAL, INC.,                                  :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 THE RIVERSIDE PUBLISHING                              :   Case No. 12-____ (___)
 COMPANY                                               :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 CLASSWELL LEARNING                                    :   Case No. 12-____ (___)
 GROUP INC.                                            :
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 COGNITIVE CONCEPTS, INC.                              :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 EDUSOFT                                               :   Case No. 12-____ (___)
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                                     Debtor.           :
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 In re:                                                :   Chapter 11
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 ADVANCED LEARNING                                     :   Case No. 12-____ (___)
 CENTERS, INC.                                         :
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                                     Debtor.           :
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             DEBTORS’ MOTION FOR AN ORDER DIRECTING JOINT
            ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                  Houghton Mifflin Harcourt Publishing Company and its affiliated debtors

 and debtors-in-possession in the above-captioned cases (each a “Debtor,” and

 collectively, the “Debtors”), by and through their undersigned counsel, hereby move this

 Court for entry of an order substantially in the form attached hereto as Exhibit A (the

 “Order”) pursuant to section 105(a) of title 11 of the United States Code (the

 “Bankruptcy Code”) and Rule 1015 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), directing joint administration of the Debtors’ related chapter 11

 cases (the “Chapter 11 Cases”). In support of this motion (the “Motion”), the Debtors

 rely upon the Affidavit of William F. Bayers (the “Bayers Affidavit”), general counsel to

 the Debtors, pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the Southern




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 District of New York filed contemporaneously herewith and incorporated herein by

 reference, and respectfully state as follows:

                                      JURISDICTION

               1.       This Court has jurisdiction to hear this Motion pursuant to 28

 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                      BACKGROUND

               2.       On the date hereof (the “Petition Date”), each of the Debtors filed

 with this Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

 The Debtors continue to operate their businesses and manage their properties as debtors-

 in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

               3.       As described more fully below, contemporaneously with the filing

 of their petitions, the Debtors also filed their Prepackaged Joint Plan of Reorganization

 (the “Prepackaged Plan”) to implement a restructuring of certain of the Debtors’

 outstanding indebtedness and existing equity interests. Although the solicitation period

 remains open, as of the Petition Date, 90.3% of the total amount of creditors entitled to

 vote on the Prepackaged Plan voted in favor of the Prepackaged Plan and 76% in amount

 of equity holders entitled to vote on the Prepackaged Plan voted in favor of the

 Prepackaged Plan. The Debtors did not receive any ballots rejecting the Prepackaged

 Plan. As a result of the overwhelming support for the Prepackaged Plan, the Debtors

 intend to move forward with confirmation of the Prepackaged Plan at the Court’s earliest

 available date.

               4.       As of the date hereof, no creditors’ committee, trustee or examiner

 has been appointed in these cases.



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               5.       The Debtors comprise one of the leading educational publishers in

 the U.S. public school market (known as kindergarten to grade 12 or “K-12”). The

 Debtors offer a diverse portfolio of products and services, including textbooks,

 workbooks, supplemental materials, technology-based products, teaching guides, various

 types of standardized and customized tests, professional assessment products, and a wide

 range of trade and reference titles. The Debtors are organized into the following two

 divisions: education and trade and reference. The education division is the largest

 division and represents approximately 90% of the Debtors’ total revenue. The Debtors’

 revenue and EBITDA for the year ended December 31, 2011 were approximately $1.295

 billion and $238 million, respectively.

               6.       The global financial crisis over the past several years has

 negatively affected the Debtors’ recent financial performance. The Debtors’ business

 depends largely on state and local funding and the recession-driven decreases in state

 spending as well as significant purchase deferrals in key states and territories resulted in

 material reductions in the overall size of the Debtors’ key K-12 market. Lack of

 anticipated federal stimulus support also contributed to the Debtors’ substantial revenue

 decline. As a result of the deteriorating macroeconomic conditions, the Debtors, along

 with certain of their non-debtor affiliates, implemented a consensual out-of-court

 restructuring in March, 2010. Despite the out-of-court restructuring, due to the

 continuing contraction of funds for state education spending and higher deferrals of

 awarded business than expected, the Debtors have continued to experience financial

 difficulties. On or about December 22, 2011 and December 29, 2011, the Debtors

 entered into amendments to their first lien credit facility and receivables facility,

 respectively (collectively, the “Amendments”).



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               7.       Notwithstanding the Amendments, the Debtors have determined

 that a complete delevering of their capital structure is now necessary. In or about March

 2012, significant holders of claims under the Debtors’ first lien credit facility and the

 10.5% Notes formed an informal creditor group (the “Informal Creditor Group”). Since

 its formation, the Informal Creditor Group and its advisors have engaged in constructive

 dialogue with the Debtors regarding a comprehensive restructuring of the Debtors’

 outstanding debt and equity.

               8.       After months of good faith, arm’s length negotiations among the

 Debtors and the Informal Creditor Group and their respective advisors, on May 10, 2010,

 the parties reached an agreement on the terms of a restructuring to completely delever the

 Debtors’ balance sheet. The Debtors have commenced these Chapter 11 Cases to

 implement the terms of the agreement which has been embodied in the Prepackaged Plan

 and the accompanying Restructuring Support Agreement (as defined in the Prepackaged

 Plan).

                                  RELIEF REQUESTED

               9.       By this Motion, the Debtors request that the Court enter an order

 pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule 1015(b)

 authorizing the joint administration of the Debtors’ estates for procedural purposes only.

                                    BASIS FOR RELIEF

               10.      Bankruptcy Rule 1015(b) provides, in relevant part, that:

                [i]f a joint petition or two or more petitions are pending in the
                same court by or against . . . a debtor and an affiliate, the court
                may order a joint administration of the estates. 11 U.S.C.
                § 1015(b)

 Bankruptcy Rule 1015 promotes the fair and efficient administration of multiple cases of

 affiliated debtors while protecting the rights of individual creditors. See


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 FED. R. BANKR. P. 1015 advisory committee note; In re N.S. Garrott & Sons, 63 B.R.

 189, 191 (Bankr. E.D. Ark. 1986); In re H&S Trans. Co., 55 B.R. 786, 791 (Bankr. M.D.

 Tenn. 1982). The Debtors are “affiliates” as defined in section 101(2) of the Bankruptcy

 Code. Accordingly, this Court is authorized to grant the relief requested herein.

               11.      Section 105 of the Bankruptcy Code also provides this Court with

 the power to order joint administration of the Chapter 11 Cases. Section 105(a) of the

 Bankruptcy Code states that a bankruptcy court “may issue any order, process, or

 judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

 Code].” 11 U.S.C. § 105(a). Accordingly, the Bankruptcy Code and Bankruptcy Rules

 authorize this Court to grant the requested relief.

               12.      In addition, the joint administration of multiple related cases such

 as these is common in this District. See, e.g., In re TBS Shipping Servs. Inc., Case No.

 12-22225 (RDD) (Bankr. S.D.N.Y. Feb. 8, 2012) [Docket No. 31]; In re Eastman Kodak

 Co., 12-10202 (ALG) (Bankr. S.D.N.Y. Jan. 19, 2012 [Docket No. 42]; In re Sbarros,

 Inc., Case No. 11-11527 (SCC) (Bankr. S.D.N.Y. Apr. 5, 2011) [Docket No. 37]; In re

 Blockbuster Inc., Case No. 10-14997 (BRL) (Bankr. S.D.N.Y. Sept. 23, 2010) [Docket

 No. 36]; In re General Growth Properties, Inc., et al., Case No. 09-11977 (ALG) (Bankr.

 S.D.N.Y. Apr. 16, 2009) [Docket No. 35]; In re Bearing Point Inc., et al., Case No. 09-

 10691 (REG) (Bankr. S.D.N.Y. Feb. 19, 2009) [Docket No. 31]; In re Tronox, Inc., 09-

 10156 (Bankr. S.D.N.Y. Jan. 13, 2009) [Docket No. 39]; In re Lyondell Chemical Co.,

 09-10023 (Bankr. S.D.N.Y. Jan. 7, 2009) [Docket No. 54]; In re Wellman, Inc., Case No.

 08-10595 (Bankr. S.D.N.Y. Feb. 26, 2008) [Docket No. 38]; In re DJK Residential LLC,

 Case No. 08-10375 (Bankr. S.D.N.Y. Feb. 8, 2008) [Docket No. 70].




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               13.      The Debtors anticipate that numerous notices, applications,

 motions, other pleadings, hearings, and orders in the Chapter 11 Cases will affect more

 than one of the Debtors. The failure to jointly administer these cases would result in

 numerous duplicative pleadings filed for each issue to be served upon separate service

 lists. Such duplication of substantially identical documents would be extremely wasteful.

 In addition, the Debtors’ financial affairs and business operations are interrelated. Joint

 administration will therefore ease the administrative burden on the Court and all parties-

 in-interest, and will reduce fees and costs by avoiding the filing of duplicative documents

 and notices in each of the Debtors’ separate cases. Joint administration permits the Clerk

 to use a single general docket for all of the Debtors’ cases and to combine notices to

 creditors of each Debtor’s estate and other parties-in-interest. Doing so also protects

 creditors’ rights by ensuring that parties-in-interest in each Chapter 11 Case will be

 apprised of the various matters before the Court in each of the other related cases.

               14.      Joint administration of the Chapter 11 Cases will not adversely

 affect the Debtors’ respective creditors because at this time, the Debtors are requesting

 only administrative consolidation of the Debtors’ estates for procedural purposes.

 Constituents will benefit from the cost reductions joint administration will achieve. In

 addition, joint administration enables stakeholders to more readily apprise the various

 parties-in-interest of the matters before the Court. It also relieves the Court of the burden

 of entering duplicative orders and maintaining duplicative files and will simplify the

 Office of the United States Trustee’s (the “U.S. Trustee”) supervision and administrative

 duties relating to these Chapter 11 Cases. In sum, joint administration, for procedural

 purposes only, will best serve the interests of the Debtors, their creditors, and other

 parties-in-interest.



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               15.      For all the foregoing reasons, the Debtors respectfully request the

 immediate entry of an order providing for the joint administration of the Chapter 11

 Cases. Specifically, the Debtors request that all parties in all pleadings in the jointly

 administered cases use the following official caption:

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

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 In re:                                                     : Chapter 11
                                                            :
 HOUGHTON MIFFLIN                                           : Case No. 12-____ (___)
 HARCOURT PUBLISHING COMPANY, et al.,                       :
                                                            : Jointly Administered
                                        Debtors.            :
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               16.      The Debtors further request that the Clerk of the Court enter a

 docket entry in each of the above-captioned cases, other than the chapter 11 case of

 Houghton Mifflin Harcourt Publishing Company, substantially as follows:

          “An Order has been entered in this case pursuant to Rule 1015(b) of the
          Federal Rules of Bankruptcy Procedure directing the procedural
          consolidation and joint administration of the chapter 11 cases of Houghton
          Mifflin Harcourt Publishing Company, Houghton Mifflin Harcourt
          Publishers Inc., HMH Publishers, LLC, Houghton Mifflin Holding
          Company, Inc., Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc.,
          Houghton Mifflin Holdings, Inc., HM Publishing Corp., Riverdeep Inc., a
          Limited Liability Company, Broderbund LLC, RVDP, Inc., HRW
          Distributors, Inc., Greenwood Publishing Group, Inc., Classroom Connect,
          Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing LLC,
          HMH Supplemental Publishers Inc., HMH Holdings (Delaware), Inc.,
          Sentry Realty Corporation, Houghton Mifflin Company International, Inc.,
          The Riverside Publishing Company, Classwell Learning Group Inc.,
          Cognitive Concepts, Inc., Edusoft and Advanced Learning Centers, Inc.
          All further pleadings and other papers shall be filed in, and all further
          docket entries shall be made in the docket of Houghton Mifflin Harcourt
          Publishing Company, Case No. 12-______ ( ) and such docket should be
          consulted for all matters affecting this chapter 11 case.”




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              17.       Finally, the Debtors seek authority to file the monthly operating

 reports required by the United States Trustee Operating Guidelines on a consolidated

 basis for all of the Debtors if the Debtors determine, after consulting with the U.S.

 Trustee, that consolidated reports would: (i) increase administrative economy and

 efficiency in these Chapter 11 Cases without prejudice to any party in interest; and (ii)

 accurately reflect the Debtors’ business operations and financial affairs.

                                          NOTICE

              18.       As of the date hereof, no creditors’ committee, trustee, or examiner

 has been appointed in these chapter 11 cases. Notice of this Motion has been provided

 to: (i) the United States Trustee, Attention: Andrea B. Schwartz; (ii) counsel for the

 DIP/Exit Agent; (iii) the parties identified on the Debtors’ consolidated list of twenty (20)

 largest unsecured creditors; (iv) counsel for the Informal Creditor Group; (v) counsel for

 the Prepetition Senior Secured Notes Trustee; (vi) counsel for the Prepetition Agent;

 (vii) counsel for the Prepetition L/C Bank; (viii) the Securities and Exchange

 Commission; (ix) the United States Attorney for the Southern District of New York;

 (x) the Internal Revenue Service; (xi) the Environmental Protection Agency; (xii) the

 Pension Benefit Guaranty Corporation; (xiii) the New York State Department of

 Taxation; (xiv) the New York City Tax Department; and (xv) such other parties entitled

 to notice pursuant to Local Rule 9013-1(m). The Debtors submit that, in light of the

 nature of the relief requested, no other or further notice need be provided.

                                  NO PRIOR REQUEST

              19.       No prior request for the relief sought herein has been made to this

 or any other court.




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                WHEREFORE, the Debtors respectfully request that this Court enter an

 order substantially in the form attached hereto as Exhibit A granting the requested relief

 and such other and further relief as it deems just and proper.


 Dated: May 21, 2012                           PAUL, WEISS, RIFKIND WHARTON &
        New York, New York                     GARRISON LLP

                                                By: __/s/ Jeffrey D. Saferstein_________
                                                Alan Kornberg
                                                (akornberg@paulweiss.com)
                                                Jeffrey D. Saferstein
                                                (jsaferstein@paulweiss.com)
                                                Philip Weintraub
                                                (pweintraub@paulweiss.com)
                                                1285 Avenue of the Americas
                                                New York, New York 10019-6064
                                                Telephone: (212) 373-3000
                                                Facsimile: (212) 757-3990


                                               Proposed attorneys for the Debtors and
                                               Debtors-in-Possession




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                                EXHIBIT A

                              Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                :   Chapter 11
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HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
HARCOURT PUBLISHING COMPANY, :
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                                    Debtor.           :
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In re:                                                :   Chapter 11
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HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
HARCOURT PUBLISHERS INC.,                             :
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                                    Debtor.           :
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In re:                                                :   Chapter 11
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HMH PUBLISHERS, LLC,                                  :   Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :   Chapter 11
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HOUGHTON MIFFLIN                                      :   Case No. 12-____ (___)
HOLDING COMPANY, INC.,                                :
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                                    Debtor.           :
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In re:                                                :   Chapter 11
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HOUGHTON MIFFLIN, LLC,                                :   Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HOUGHTON MIFFLIN FINANCE, INC., :                             Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HOUGHTON MIFFLIN                                      :       Case No. 12-____ (___)
HOLDINGS, INC.,                                       :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HM PUBLISHING CORP.,                                  :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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RIVERDEEP INC., A LIMITED                             :       Case No. 12-____ (___)
LIABILITY COMPANY                                     :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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BRODERBUND LLC,                                       :       Case No. 12-____ (___)
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In re:                                                :       Chapter 11
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RVDP, INC.,                                           :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HRW DISTRIBUTORS, INC.,                               :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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GREENWOOD PUBLISHING                                  :       Case No. 12-____ (___)
GROUP, INC.,                                          :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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CLASSROOM CONNECT, INC.,                              :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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ACHIEVE! DATA SOLUTIONS, LLC,                         :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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STECK-VAUGHN                                          :       Case No. 12-____ (___)
PUBLISHING LLC,                                       :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HMH SUPPLEMENTAL                                      :       Case No. 12-____ (___)
PUBLISHERS INC.,                                      :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HMH HOLDINGS (DELAWARE) INC,                          :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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SENTRY REALTY CORPORATION                             :       Case No. 12-____ (___)
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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HOUGHTON MIFFLIN COMPANY                              :       Case No. 12-____ (___)
INTERNATIONAL, INC.,                                  :
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                                    Debtor.           :
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In re:                                                :       Chapter 11
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THE RIVERSIDE PUBLISHING                              :       Case No. 12-____ (___)
COMPANY                                               :
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
                                                      :
In re:                                                :       Chapter 11
                                                      :
CLASSWELL LEARNING                                    :       Case No. 12-____ (___)
GROUP INC.                                            :
                                                      :
                                    Debtor.           :
----------------------------------------------------- x




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----------------------------------------------------- x
                                                      :
In re:                                                :       Chapter 11
                                                      :
COGNITIVE CONCEPTS, INC.                              :       Case No. 12-____ (___)
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
                                                      :
In re:                                                :       Chapter 11
                                                      :
EDUSOFT                                               :       Case No. 12-____ (___)
                                                      :
                                    Debtor.           :
----------------------------------------------------- x
                                                      :
In re:                                                :       Chapter 11
                                                      :
ADVANCED LEARNING                                     :       Case No. 12-____ (___)
CENTERS, INC.                                         :
                                                      :
                                    Debtor.           :
----------------------------------------------------- x

          ORDER DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’
             CHAPTER 11 CASES AND GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”)1 of Houghton Mifflin Harcourt Publishing

Company and its affiliated debtors and debtors-in-possession in the above-captioned cases (each

a “Debtor,” and collectively, the “Debtors”), requesting entry of an order pursuant to section

105(a) of title 11 of the Bankruptcy Code and Bankruptcy Rule 1015(b), administratively

consolidating their respective Chapter 11 Cases for procedural purposes only and providing for

joint administration; and upon consideration of the Bayers Affidavit; and it appearing that this

Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it

appearing that venue of these cases and the Motion in this district is proper pursuant to 28 U.S.C.


1
    All capitalized terms used and not defined herein shall have the meaning ascribed to them in the Motion.




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§§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b); and it appearing that notice of the Motion has been given as set forth in the Motion and

that such notice is adequate and no other or further notice need be given; and a hearing having

been held to consider the relief requested in the Motion and upon the record of the hearing and

all of the proceedings had before the Court; and the Court having found and determined that the

relief sought in the Motion is in the best interests of the Debtors, their estates, their creditors and

all other parties-in-interest; and that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is hereby ORDERED that:

                1.      The Motion is GRANTED as modified herein.

                2.      Pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule

1015(b), the above-captioned Chapter 11 Cases shall be consolidated for administrative purposes

only and jointly administered as Case No. 12-_____(___)

                3.      The following caption shall be used for all pleadings filed in the above-

referenced cases:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- x
In re:                                                      : Chapter 11
                                                            :
HOUGHTON MIFFLIN                                            : Case No. 12-____ (___)
HARCOURT PUBLISHING COMPANY, et al.,                        :
                                                            : Jointly Administered
                                        Debtors.            :
-------------------------------------- x




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               4.      A docket entry shall be made in each of the above-referenced chapter 11

cases, other than the docket maintained for the Chapter 11 Case of Houghton Mifflin Harcourt

Publishing Company, substantially as follows:

       “An Order has been entered in this case pursuant to Rule 1015(b) of the Federal
       Rules of Bankruptcy Procedure directing the procedural consolidation and joint
       administration of the chapter 11 cases of Houghton Mifflin Harcourt Publishing
       Company, Houghton Mifflin Harcourt Publishers Inc., HMH Publishers, LLC,
       Houghton Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton
       Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM Publishing Corp.,
       Riverdeep Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc.,
       HRW Distributors, Inc., Greenwood Publishing Group, Inc., Classroom Connect,
       Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing LLC, HMH
       Supplemental Publishers Inc., HMH Holdings (Delaware), Inc., Sentry Realty
       Corporation, Houghton Mifflin Company International, Inc., The Riverside
       Publishing Company, Classwell Learning Group Inc., Cognitive Concepts, Inc.,
       Edusoft and Advanced Learning Centers, Inc. All further pleadings and other
       papers shall be filed in, and all further docket entries shall be made in the docket
       of Houghton Mifflin Harcourt Publishing Company, Case No. 12-______ ( ) and
       such docket should be consulted for all matters affecting this chapter 11 case.”

               5.      Notwithstanding any provision in the Bankruptcy Rules to the contrary:

(a) this Order shall be effective immediately and enforceable upon its entry; (b) the Debtors are

not subject to any stay in the implementation, enforcement or realization of the relief granted in

this Order; and (c) the Debtors are authorized and empowered, and may in their discretion and

without further delay, take any action and perform any act necessary to implement and effectuate

the terms of this Order.

               6.      Nothing contained in this Order shall be deemed or construed as directing

or otherwise effecting the substantive consolidation of any of the above-captioned cases.

               7.      The Debtors shall be permitted to file the monthly operating report

required by the U.S. Trustee’s Operating Guidelines on a consolidated basis, provided, however,

that the Debtors shall track and break out disbursements on a Debtor by Debtor bases.

               8.      The requirements of Local Rule 9013-1(b) are waived.


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               9.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated: May [ ], 2012
       New York, New York

                                             ____________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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